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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 5.1.1
                                Eastern Division

Nineva Oglesby
                                                 Plaintiff,
v.                                                            Case No.: 1:12−cv−05338
                                                              Honorable Marvin E. Aspen
SSC Westchester Operating Company, LLC
                                                 Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, February 7, 2013:


        MINUTE entry before Honorable Marvin E. Aspen:Status hearing held on
2/7/2013. No one appears. This action is stricken from J. Aspen's calendar. Pursuant to
Magistrate Judge Martin's order of 2/9/13 (20), aa stipulation of dismissal is to be filed
within thirty days with the District Judge. Civil case terminated. Judicial staff mailed
notice(gl, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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